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 TELECOMMUNICATIONS AMERICA, LLC

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                                  UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

      APPLE INC., a California corporation,         CASE NO. 12-CV-00630-LHK (PSG)

                    Plaintiff,                      DECLARATION OF MICHAEL L. FAZIO
                                                 IN SUPPORT OF SAMSUNG’S
             vs.                                    OPPOSITION TO APPLE’S MOTION
                                                 FOR PARTIAL SUMMARY JUDGMENT
    SAMSUNG ELECTRONICS CO., LTD., a
 Korean business entity; SAMSUNG                 Date: December 12, 2013
    ELECTRONICS AMERICA, INC., a New                Time: 1:30 p.m.
 York corporation; SAMSUNG                       Place: Courtroom 8, 4th Floor
    TELECOMMUNICATIONS AMERICA,                     Judge: Honorable Lucy H. Koh
 LLC, a Delaware limited liability company,

                 Defendants.

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                                                                  Case No. 12-CV-00630-LHK (PSG)
                                     FAZIO DECLARATION IN SUPPORT OF SAMSUNG’S OPPOSITION TO
                                                      APPLE’S MOTION FOR SUMMARY JUDGMENT
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 1                 I, Michael L. Fazio, declare as follows:

 2          1.     I am a member of the bar of the State of California, admitted to practice before this

 3 Court, and a partner with Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for defendants

 4 Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

 5 Telecommunications America, LLC (collectively, “Samsung”) in this action. I make this

 6 declaration of personal, firsthand knowledge, and if called and sworn as a witness, I could and

 7 would testify as set forth below.

 8          2.     Attached hereto as Exhibit 1 is a true and correct copy of an Order, dated March 19,

 9 2012, from Apple Inc., et al. v. Motorola, Inc., et al., No. 1:11-cv-08540 (N.D. Ill.).

10          3.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the deposition

11 transcript of Dr. Alex Snoeren, dated September 25-26, 2013.

12          4.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the Opening

13 Expert Report of Dr. Alex Snoeren, dated August 12, 2013.

14          5.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the Rebuttal

15 Expert Report of Dr. Alex Snoeren, dated September 13, 2013.

16          6.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts of the deposition

17 transcript of Paul Westbrook, dated June 11, 2013.

18          7.     Attached hereto as Exhibit 6 is a true and correct copy of Exhibit E to the Expert
19 Report of Dr. John Hauser, dated August 12, 2013.

20          8.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts of the deposition

21 transcript of Fred Quintana, dated June 13, 2013.

22          9.     Attached hereto as Exhibit 8 is a true and correct copy of the AppleSearch

23 Administrator’s Guide produced by Apple in this action at Bates Nos. APLNDC630-0000441944

24 through APLNDC630-0000442053.

25          10.    Attached hereto as Exhibit 9 is a true and correct copy of the document produced

26 by Samsung in this action at Bates No. SAMNDCA630-07890674.
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                                                   -1-               Case No. 12-CV-00630-LHK (PSG)
                                       FAZIO DECLARATION IN SUPPORT OF SAMSUNG’S OPPOSITION TO
                                                        APPLE’S MOTION FOR SUMMARY JUDGMENT
      Case 5:12-cv-00630-LHK Document 854-5 Filed 11/01/13 Page 3 of 5




 1          11.    Attached hereto as Exhibit 10 is a true and correct copy of the AppleSearch User’s

 2 Guide produced by Apple in this action at Bates No. APLNDC630-0000441829 through

 3 APLNDC630-0000441943.

 4          12.    Attached hereto as Exhibit 11 is a true and correct copy of the document produced

 5 by Samsung in this action at Bates No. SAMNDCA630-07216825 through SAMNDCA630-

 6 07216829.

 7          13.    Attached hereto as Exhibit 12 is a true and correct copy of excerpts of the

 8 deposition transcript of Brewster Kahle, dated July 25, 2013.

 9          14.    Attached hereto as Exhibit 13 is a true and correct copy of excerpts of the

10 deposition transcript of Norbert Fuhr, dated July 12, 2013.

11          15.    Attached hereto as Exhibit 14 is a true and correct copy of excerpts of the

12 deposition transcript of Ulrich Pfeifer, dated July 14, 2013.

13          16.    Attached hereto as Exhibit 15 is a true and correct copy of Huynh Quoc Thanh

14 Tung, Expansion of the FreeWAIS Server (1994), produced by Samsung in this action at Bates

15 Nos. SAMNDCA630-06029163 through SAMNDCA630-06029352.

16          17.    Attached hereto as Exhibit 16 is a true and correct copy of Ulrich Pfeifer,

17 freeWAIS-sf (Oct. 1995), produced by Samsung in this action at Bates Nos. SAMNDC630-

18 00028135 through SAMNDCA630-00028186.
19          18.    Attached hereto as Exhibit 17 is a true and correct copy of excerpts of the Opening

20 Expert Report of Dr. Richard Taylor, dated August 12, 2013.

21          19.    Attached hereto as Exhibit 18 is a true and correct copy of excerpts of the

22 deposition transcript of Dr. Richard Taylor, dated September 27, 2013.

23          20.    Attached hereto as Exhibit 19 is a true and correct copy of excerpts from

24 Samsung’s Second Amended Invalidity Claim Chart For U.S. Patent No. 6,847,959, Exhibit C-9.

25          21.    Attached hereto as Exhibit 20 is a true and correct copy of excerpts from

26 Samsung’s Invalidity Claim Chart For U.S. Patent No. 6,847,959, Exhibit C-21.
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                                                  -2-               Case No. 12-CV-00630-LHK (PSG)
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      Case 5:12-cv-00630-LHK Document 854-5 Filed 11/01/13 Page 4 of 5




 1         22.     Attached hereto as Exhibit 21 is a true and correct copy of excerpts of the Rebuttal

 2 Expert Report of Dr. Richard Taylor, dated September 13, 2013.

 3         I declare under penalty of perjury under the laws of the United States of America that the

 4 foregoing is true and correct.

 5         Executed on November 1, 2013, at Los Angeles, California.

 6                                                  /s/ Michael L. Fazio
                                                    Michael L. Fazio
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      Case 5:12-cv-00630-LHK Document 854-5 Filed 11/01/13 Page 5 of 5




 1                                          ATTESTATION
 2          I, Patrick D. Curran, am the ECF User whose ID and password are being used to file this

 3 Declaration. In compliance with Civil Local Rule 5-1(i), I hereby attest that Michael L. Fazio has

 4 concurred in this filing.

 5 Dated: November 1, 2013                         /s/ Patrick D. Curran
                                                   Patrick D. Curran
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                                                 -4-               Case No. 12-CV-00630-LHK (PSG)
                                     FAZIO DECLARATION IN SUPPORT OF SAMSUNG’S OPPOSITION TO
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